                 Case 2:20-cv-01555-RSM Document 4 Filed 10/21/20 Page 1 of 1




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 5
                                 UNITED STATES DISTRICT COURT
 6                              WESTERN DISTRICT OF WASHINGTON
                                          AT SEATTLE
 7

 8   VIVIAN BURNS,

 9                              Plaintiff,                 Case No. C20-1555-RSM

10          v.                                             ORDER

11   INTERNATIONAL BUSINESS
     MACHINES CORPORATION,
12
                                Defendants.
13

14          Plaintiff has filed an application to proceed in forma pauperis (“IFP”) in the

15   above-entitled action. (Dkt. # 1.) Plaintiff does not appear to have funds available to afford the

16   $400.00 filing fee. Accordingly, Plaintiff’s application to proceed in forma pauperis (dkt. # 1) is

17   GRANTED. The Court recommends the complaint be reviewed under 28 U.S.C. § 1915(e)(2)(B)

18   before issuance of summons.

19          The Clerk is directed to send copies of this Order to the parties and to the Honorable

20   Ricardo S. Martinez.

21          Dated this 21st day of October, 2020.

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23
                                                           A
                                                           MICHELLE L. PETERSON
                                                           United States Magistrate Judge



     ORDER - 1
